Case 2:21-cv-00163-Z Document 39 Filed 07/27/22                Page 1 of 2 PageID 330


             UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF TEXAS
                   AMARILLO DIVISION


 Susan Neese, et al.

                        Plaintiffs,
                                                  Case No. 2:21-cv-00163-Z
 v.

 Xavier Becerra, et al.

                        Defendants.


 STIPULATION OF DISMISSAL WITH PREJUDICE OF JEFFREY
                    BARKE, M.D.
      Plaintiffs and defendants stipulate that Plaintiff Jeffrey Barke, M.D., dismisses his
claims against all defendants, with prejudice, under Federal Rule of Civil Procedure
41(a)(1)(A)(ii). Each party will bear its own attorneys’ fees, costs, and expenses.

                                               Respectfully submitted.

                                                /s/ Jeremy S.B. Newman
  /s/ Jonathan F. Mitchell                     Jeremy S.B. Newm an
 Jonathan F. Mitchell                          United States Department of Justice
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 the Proposed Classes

 Dated: July 27, 2022




stipulation of dismissal of jeffrey barke, m.d.                                 Page 1 of 2
Case 2:21-cv-00163-Z Document 39 Filed 07/27/22          Page 2 of 2 PageID 331


                         CERTIFICATE OF SERVICE
    I certify that on July 27, 2022, I served this document through CM/ECF upon:

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stipulation of dismissal of jeffrey barke, m.d.                        Page 2 of 2
